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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


Earnestine Metcalf,

                       Plaintiff,       Case No. 16-cv-12979

v.                                      Judith E. Levy
                                        United States District Judge
Selene Finance, LP,
                                        Mag. Judge Stephanie Dawkins
                       Defendant.       Davis

________________________________/

     STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      Plaintiff, Earnestine Metcalf, and Defendant, Selene Finance LP

(collectively “the Parties”), by counsel, hereby stipulate that the matters

at issue between them in the above-captioned matter have been

compromised, agreed, and settled; and


      IT IS HEREBY STIPULATED by and between the Parties that

the above-captioned action shall be DISMISSED by the Court WITH

PREJUDICE pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure, with each party to bear its own costs and attorney fees,

except as otherwise provided by settlement.
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       IT IS SO ORDERED.

Dated: November 7, 2016                          s/Judith E. Levy
Ann Arbor, Michigan                              JUDITH E. LEVY
                                                 United States District Judge
Stipulated by:
SELENE FINANCE, L.P.
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Counsel for Plaintiff




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                    CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 7, 2016.

                                           s/Felicia M. Moses
                                           FELICIA M. MOSES
                                           Case Manager




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